 

.Jl-'lvl L)ocumentze/ Fl|ed 05/17/05 Pa¢eD%CQ£TZNUNB§}Q&r|D§GA,WU

 

 

 

 

tIN'.
PROB 22
(Rev' mm w -. CW> .;i.<.‘:¢ 2:94CR20075-02
TRANSFER OF JURISDICTION
n , w v __ H trw ,__ DOCKET NUMBER (Rec. Courr)
' ‘.x:\.'t' ii tim iti- tiié
NAME AND ADDREss or PRoBATtoNER/sUPERW sED RELEAsEE toisr`mc'r . _ DMSION
`:'__l?,;';i §i ‘, i, t
i.Wr;ertz_N misrch or z .':1:- wESTERN
TENNESSEE
Israel Basulto

175 E. 33rd Street, No. 6 NAME OF sENTENClNG JUDGE
Hiaieah, Florida 33010

 

 

Honorable Odell Horton

DATES OF FROM TQ
PROBATION/SUPERVISED 09/24/ 00

RELEASE; 2 3 09/23/2007

 

 

 

OFFENSE

AIDING & ABETTING IN THE POSSESSION OF COCAlNE WITH INTENT TO DISTRIBUTE
21 USC §84 (a)(]) and 18 USC §2

 

PART ] - ORDER TRANSFERRING JURISDICTION

 

UNITED STATES DlSTR]CT C()URT FOR THE W§-STERN DlSTRlCT OF TENNESSEE !Mcmtlhis)

IT IS HEREBY ORDERED that pursuant to 18 USC §3605 the jurisdiction of the probationer or
supervised releasee named above be transferred with the records of the Court to the United States Distn'ct Court
for the Southern District of Florida ( Miami) upon that Court's order of acceptance ofjurisdiction. This Court
hereby expressly consents that the period of probation or supervised release may be changed by the District Court
to which this transfer is made without further inquiry of this Court.*

L5zi§t ZZ¢'OS MRN‘MA

/_ l United States District .ludge

 

 

f
*'l"his sentence ma be deleted in the discretion of the transferrin Coutt. ( /

\__,/
PART 2 ~ ORDER ACCEPTING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE SOUTHERN DlSTRICT OF FLORIDA ( MIAMI)

IT IS HEREBY ORDERED that jurisdiction over the above»named probationer/supervised releasee be
accepted and assumed by this Court from and after the entry of this order.

wear @&JL;;

Date United States Dé.trict Judge

This document entered on the docket sheet in compttan s 02 7
w't § ‘ bn ' C
l h me de ami/or az(b) FHch nn 577@5

 

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 287 in
case 2:94-CR-20075 Was distributed by faX, mail, or direct printing on
May ]7, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

